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                                       MINUTES



  CASE NUMBER:             CIVIL NO. 18-00477LEK-RT
  CASE NAME:               A. B. by her parents and next friends, C.B. and D.B. next
                           friend C. B. next friend D. B., et al. Vs. Hawaii State
                           Department of Education, et al.
  ATTYS FOR PLA:
  ATTYS FOR DEFT:
  INTERPRETER:


        JUDGE:      Leslie E. Kobayashi            REPORTER:

        DATE:       05/23/2019                     TIME:


 COURT ACTION: EO: COURT ORDER CONTINUING HEARING ON
 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        On May 3, 2019, Plaintiffs A.B., by her parents and next friends, C.B. and D.B.,
 and T.T., by her parents and next friends, K.T. and S.T. (“Plaintiffs”), filed their Motion
 for Class Certification (“Motion”). [Dkt. no. 59.] The Motion is currently set for hearing
 on July 5, 2019 at 9:45 a.m.

         On May 14, 2019, Plaintiffs and Defendants Hawaii State Department of
 Education (“DOE”) and Oahu Interscholastic Association (“OIA”) attended a status
 conference before the magistrate judge to discuss, inter alia, discovery issues and
 Plaintiffs’ intent to file a motion for leave to amend their complaint to add an additional
 plaintiff. [Minutes, filed 5/14/19 (dkt. no. 68).] Based on these discussions, the Court
 HEREBY CONTINUES the July 5, 2019 hearing on the Motion to September 20, 2019
 at 9:45 a.m. Defendants’ respective memoranda in opposition to the Motion, and
 Plaintiffs’ optional reply, are due in the normal course.

        IT IS SO ORDERED.

 Submitted by: Warren N. Nakamura, Courtroom Manager
